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Attorneys for Plaintiff
G & G Closed Circuit Events, LLC

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

G & G Closed Circuit Events, LLC Case No.:

Plaintiff,
vs. COMPLAINT

David Colon individually and d/b/a Escape
Latino Restaurant; Santos Dalmau, individually
and d/b/a Escape Latino Restaurant; and Escape
Latino Corp., an unknown business entity
d/b/a Escape Latino Restaurant

Defendants.

 

 

PLAINTIFF ALLEGES:
JURISDICTION

1. Jurisdiction is founded on the existence of a question arising under particular statutes. This
action is brought pursuant to several federal statutes, including the Communications Act of 1934,
as amended, Title 47 U.S.C. 605, ef seg., and The Cable & Television Consumer Protection and
Competition Act of 1992, as amended, Title 47 U.S. Section 553, et seq.

2. This Court has jurisdiction of the subject matter of this action pursuant to 28 U.S.C.
Section 1331, which states that the District Courts shall have original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties, of the United States.

 
 

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3. This Court has personal jurisdiction over the parties in this action as a result of the
Defendants’ wrongful acts hereinafter complained of which violated the Plaintiff's rights as the
exclusive commercial domestic distributor of the televised fight Program hereinafter set forth at
length. The Defendants’ wrongful acts consisted of the interception, reception, publication,
divulgence, display, and exhibition of said property of Plaintiff within the contro! of the Plaintiff in
the State of New York.

VENUE AND INTRADISTRICT ASSIGNMENT

4. Venue in this Court is proper under 28 U.S.C. §1391 as a substantial part of the Programs
or omissions giving rise to the claims herein occurred in this District.

5. Assignment to the Southern District of New York is proper because a substantial part of
the Programs or omissions giving rise to the claim occurred in Westchester County and/or the United
States District Court for the Southern District of New York has decided that suits of this nature, and
each of them, are to be heard by the Courts in this particular Division.

THE PARTIES

6. Plaintiff, G & G Closed Circuit Events, LLC is, and at all relevant times hereto was, a
California corporation with its principal place of business located at 2925 Green Valley Parkway,
Suite D, Henderson, NV 89014.

7. Escape Latino Corp., an unknown business entity d/b/a Escape Latino Restaurant
(hereinafter "Escape Latino Corp."), at all times relevant hereto, was a Domestic Business
Corporation organized and existing under the laws of the State of New York.

8. At all times relevant hereto, Escape Latino Corp. was an owner, and/or operator, and/or
licensee, and/or permittee, and/or person in charge, and/or an entity with dominion, control,

oversight and management of the commercial establishment doing business as Escape Latino

 
 

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Restaurant operating at 969 Main Street New Rochelle NY 10801.

9. At all times relevant hereto, Defendants David Colon and Santos Dalmau were identified
as Owners and Principals of Escape Latino Corp., which owned and operated the commercial
establishment doing business as Escape Latino Restaurant operating at 969 Main Street New
Rochelle NY 10801.

10. At all times relevant hereto, Defendants David Colon and Santos Dalmau were
identified by the New York State Liquor Authority as the Principals for Escape Latino Corp. on the
New York State Liquor Authority License for Escape Latino Corp. (License Serial No. 1297795),
for the commercial establishment Escape Latino Corp. operating at 969 Main Street New Rochelle
NY 10801.

11. At all times relevant hereto, Defendants David Colon and Santos Dalmau were the sole
individuals identified on the On Premises Liquor License (License Serial No. 1297795) issued to
Escape Latino Corp. for the commercial establishment Escape Latino Restaurant operating at 969
Main Street New Rochelle NY 10801.

12. Plaintiff is informed and believes, and alleges thereon that on Saturday, September 16,
2017 (the night of the Program at issue herein, as more specifically defined in Paragraph 19)
Defendants David Colon and Santos Dalmau , as the Owners and Principals of Escape Latino Corp.,
and as the sole individuals identified on the On Premises Liquor License (License Serial No.
1297795) for Escape Latino Corp. had the right and ability to supervise the activities of Escape
Latino Restaurant, which included the unlawful interception, receipt and publication of Plaintiff's
Program.

13. Plaintiff is informed and believes, and alleges thereon that on Saturday, September 16,

2017 (the night of the Program at issue herein, as more specifically defined in Paragraph 19)

 
 

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Defendants David Colon and Santos Dalmau as the Owners and Principals of Escape Latino Corp.
and as the sole individuals identified on the On Premises Liquor License (License Serial No.
1297795) for Escape Latino Corp. had the obligation to supervise the activities of Escape Latino
Restaurant operating at 969 Main Street New Rochelle NY 10801, which included the unlawful
interception, receipt and publication of Plaintiff's Program.

14. Plaintiff is informed and believes, and alleges thereon that on Saturday, September 16,
2017 (the night of the Program at issue herein, as more specifically defined in Paragraph 19),
Defendants David Colon and Santos Dalmau specifically directed the employees of Escape Latino
Restaurant to unlawfully intercept, receive and broadcast Plaintiff's Program at Escape Latino
Restaurant or intentionally intercepted, and/or published the Pro gram at Escape Latino Restaurant
himself. The actions of the employees of Escape Latino Restaurant are imputable to Defendants
David Colon and Santos Dalmau by virtue of their acknowledged responsibility for the operation
of Escape Latino Restaurant.

15. Plaintiff is informed and believes, and alleges thereon that on Saturday, September 16,
2017 (the night of the Program at issue herein, as more specifically defined in Paragraph 19),
Defendants David Colon and Santos Dalmau as the Owners and Principals of Escape Latino Corp.
and as the sole individuals identified on the On Premises Liquor License (License Serial No.
1297795) for Escape Latino Corp. , had an obvious and direct financial interest in the activities of
Escape Latino Restaurant operating at 969 Main Street New Rochelle NY 10801, which included
the unlawful interception, receipt and publication of Plaintiffs Program.

16. Plaintiff is informed and believes, and alleges thereon that the unlawful interception,
receipt and publication of Plaintiff's Program, as supervised and/or authorized by Defendants David

Colon and Santos Dalmau, resulted in increased profits or financial benefit to Escape Latino

 
 

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Restaurant.

17. Plaintiff is informed and believes, and alleges thereon that on Saturday, September 16,
2017 (the night of the Program at issue herein, as more specifically defined in Paragraph 19),
Defendants David Colon and Santos Dalmau as the Owner and Principal of Escape Latino Corp.
was a moving and active conscious force behind the operation, advertising and promotion of Escape
Latino Restaurant operating at 969 Main Street New Rochelle NY 10801, and is responsible for all
activities that occurred therein, which included the unlawful interception and exhibition of Plaintiff's
Program.

Factual Background

18. Plaintiff G & G Closed Circuit Events, LLC hereby incorporates by reference all of the
allegations contained in paragraphs 1-17, inclusive, as though set forth herein at length.

19. Plaintiff entered into a license agreement with Golden Boy Promotions LLC through
which Plaintiff was granted the exclusive nationwide commercial distribution (closed-circuit) rights
to Gennady Golovkin v Saul Alvarez, IBF World Middleweight Championship Fight Program,
telecast nationwide on Saturday, September 16, 2017, including undercard or preliminary bouts (the
match and all related bouts are collectively referred to as the "Program"), at commercial
establishments such as theaters, arenas, bars, clubs, lounges, restaurants and the like throughout New
York and other geographic locales (the "License Agreement"). A copy of the License Agreement is
annexed hereto as Exhibit A. Plaintiff paid substantial fees for its exclusive rights to exhibit the
Program under the License Agreement.

20. Pursuant to the terms of the License Agreement, Plaintiff G & G Closed Circuit Events,
LLC, entered into subsequent sublicensing agreements with various commercial entities throughout

North America, including entities within the State of New York, by which it granted these entities

 
 

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limited sublicensing rights, specifically the rights to publicly exhibit the Program within their
respective commercial establishments.

21. The Program could only be exhibited in a commercial establishment in New York if said
establishment was contractually authorized to do so by Plaintiff G & G Closed Circuit Events, LLC.

22. Pursuant to the License Agreement, G & G Closed Circuit Events, LLC marketed and
distributed the closed-circuit rights granted to it. G & G Closed Circuit Events, LLC contracted with
various establishments throughout New York and granted to such establishments the right to
broadcast the Program in exchange for a fee.

23. As a commercial distributor and licensor of sporting Programs, including the Program,
Plaintiff G & G Closed Circuit Events, LLC, expended substantial monies marketing, advertising,
promoting, administering, and transmitting the Program to its commercial customers.

24. The transmission of the Program was electronically coded or "scrambled". In order for
the signal to be received and telecast clearly, it had to be decoded with electronic decoding
equipment. The Program originated via satellite uplink and was subsequently re-transmitted to cable
systems and satellite companies via satellite signal.

25. Ifa commercial establishment was authorized by Plaintiff to receive the Program, the
establishment was provided with the electronic decoding equipment and the satellite coordinates
necessary to receive the signal, or the establishment's satellite or cable provider would be notified
to unscramble the reception of the Program for the establishment, depending upon the
establishment's equipment and provider.

26. On Saturday, September 16, 2017 (the night of the Program at issue herein, as more
specifically defined in paragraph 19), Escape Latino Restaurant broadcast the Program on two (2)

screens with approximately 15-30 people in attendance.

 
 

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27. On information and belief, on Saturday, September 16, 2017 (the night of the Program
at issue herein, as more specifically defined in paragraph 19), Escape Latino Restaurant sold
alcoholic and non-alcoholic beverages to its patrons

28. The commercial fee for an establishment the size of Escape Latino Restaurant to
broadcast the Program lawfully was $2,500.00. Neither Defendants David Colon, Santos Dalmau
nor Escape Latino Corp. paid such a fee to Plaintiff.

COUNT I
(Violation of Title 47 U.S.C. Section 605)

29. Plaintiff G & G Closed Circuit Events, LLC, hereby incorporates by reference all of the
allegations contained in paragraphs 1-28, inclusive, as though set forth herein at length.

30. On Saturday, September 16, 2017 in violation of G & G Closed Circuit Events, LLC's
rights and federal law, Defendants intercepted and/or received the satellite communication of the
Program at Escape Latino Restaurant. Defendant also divulged and published said communication,
or assisted in divulging and publishing said communication to patrons within Escape Latino
Restaurant.

31. The Program was broadcast at Escape Latino Restaurant without the authorization or
approval of Plaintiff.

32. With full knowledge that the Program was not to be intercepted, received, published,
and/or exhibited by commercial entities unauthorized to do so, the above named Defendants, either
through direct action or through actions of employees or agents directly imputable to Defendants (as
outlined in paragraphs 7-17 above), did unlawfully intercept, receive, publish, and/or exhibit the
Program at the time of its transmission at her commercial establishment Escape Latino Restaurant,

operating at 969 Main Street New Rochelle NY 10801.

 
 

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33. Said unauthorized interception, reception, publication, and/or exhibition by the
Defendants was done willfully and for purposes of direct and/or indirect commercial advantage
and/or private financial gain, as confirmed by, inter alia, the broadcasting of the Program on one
projection screen and one televisions screens, and the sale of alcoholic beverages during the
broadcast.

34. Title 47 U.S.C. § 605(a), and in particular the second through fourth sentences thereof,
prohibits the unauthorized interception, receipt, publication and use of radio communications (which
include satellite signals) such as the transmission of the Program for which Plaintiff G & G Closed
Circuit Events, LLC, had the distribution rights thereto.

35. By reason of the aforesaid mentioned conduct, the aforementioned Defendants, violated
Title 47 U.S.C. § 605(a).

36. By reason of the Defendants' violation of Title 47 U.S.C. § 605(a), Plaintiff G & G
Closed Circuit Events, LLC, has the private right of action pursuant to Title 47 U.S.C. § 605.

37. As the result of the aforementioned Defendants' violation of Title 47 U.S.C. § 605(a), and
pursuant to said Section 605, Plaintiff G & G Closed Circuit Events, LLC, is entitled to the following
from Defendants:

(a) Statutory damages for each violation of in an amount to $10,000 pursuant to Title 47
U.S.C. Section 605(e)(3)(C)G@UD;

(b) Statutory damages for each willful violation in an amount to $100,000.00 pursuant to
Title 47 U.S.C. § 605(e)(3)(C) Gi); and

(c) The recovery of full costs, including reasonable attorneys’ fees, pursuant to Title 47
U.S.C. Section 605(e)(3)(B)(iii).

WHEREFORE, Plaintiff prays for judgment as set forth below.

 
 

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COUNT
(Violation of Title 47 U.S.C. Section 553)

38. Plaintiff G & G Closed Circuit Events, LLC hereby incorporates by reference all of the
allegations contained in paragraphs 1-37. inclusive, as though set forth herein at length.

39. Title 47 U.S.C. § 553(a) prohibits the unauthorized interception or receipt of
programming such as Plaintiff's over a cable system.

40. Upon information and belief, and as an alternative to Count I, on Saturday, September
16, 2017 in violation of G & G Closed Circuit Events, LLC's rights and federal law, Defendants
willfully intercepted and/or received the original communication of the Program at Escape Latino
Restaurant via a cable system.

41. Said unauthorized interception and reception by the Defendants was done willfully and
for purposes of direct and/or indirect commercial advantage and/or private financial gain, as
confirmed by, inter alia, the broadcasting of the Program on two (2) screens, and the sale of
alcoholic and non- alcoholic beverages during the broadcast.

42. The unauthorized interception or reception of the Program by the Defendants was
prohibited by Title 47 U.S.C. § 553(a).

43. By reason of the aforesaid mentioned conduct, the Defendants violated Title 47 U.S.C.
§ 553(a).

44, By reason of the Defendants' violation of Title 47 U.S.C. § 553(a), Plaintiff G & G
Closed Circuit Events, LLC, has the private right of action pursuant to Title 47 U.S.C. § 553.

45. As the result of Defendants' violation of Title 47 U.S.C. § 553(a), Plaintiff G & G Closed
Circuit Events, LLC, is entitled to the following from Defendants:

(a) Statutory damages for each violation in an amount to $10,000.00 pursuant to Title 47

 
 

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ULS.C. § 553(c)B)(AGD;

(b) Statutory damages for each willful violation in an amount to $50,000.00 pursuant to Title
47 U.S.C. § 553(c)(3)(B);

(c) The recovery of full costs pursuant to Title 47 U.S.C. Section 553 (c)(2)(C); and

(d) In the discretion of this Honorable Court, reasonable attorneys’ fees, pursuant to Title 47
U.S.C. Section 553 (c)(2\(C).

WHEREFORE, Plaintiff prays for judgment as set forth below.

As to the First Count:

—

. For statutory damages in the amount of $110,000.00 against the Defendants;

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. For reasonable attorneys’ fees as mandated by statute;

3. For all costs of suit, including, but not limited to, filing fees, service of process fees,
investigative costs; and

4. For such other and further relief as this Honorable Court may deem just and proper.

As to the Second Count:

1. For statutory damages in the amount of $60,000.00 against the Defendants;

2. For reasonable attorneys’ fees as may be awarded in the Court's discretion pursuant to
statute;

3. For all costs of suit, including, but not limited to, filing fees, service of process fees,

investigative costs; and

 
 

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4. For such other and further relief as this Honorable Court may deem just and proper.

Date: TS. Shy ZS, 2020

Respectfully submitted,

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[yaw OFFICES OF M.L. ZAGER, P.C.
“By: Joseph P. Loughlin
Attorneys for Plaintiff
G & G Closed Circuit Events, hig

 
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EXHIBIT A
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Golden Boy Promotions, LLC
626 Wilshire Blvd., Suite 350
Los Angeles, California 90017

May 21,2018

VIA EMAIL

G&G Closed Circuit Events, LLC
950 S. Bascom Ave; Suite 3010
San Jose, CA 95128 :

Attention: Nicolas J. Gagliardi
RE: CLOSED-CIRCUIT TELEVISION LICENSE AGREEMENT

Saul Alvarez vs. Gennady Golovkin

Scheduled 12 round WBA, IBF & IBO Middleweight Championship Bout
Plus selected undercard bouts

(Fighters subject to change)

T-Mobile Arena
Las Vegas, NV
Saturday, September 16, 2017

Gentlemen:

This will confirm the terms of our agreement whereby Golden Boy Promotions, LLC (“Promoter”)
hereby grants to G&G Closed Circuit Events, LLC. (“G&G “You” or Licensee”) the exclusive license
to exhibit Promoter’s five simultaneous HBO-PPV telecast (the “Telecast”) of the above-captioned
prizefight and accompanying undercard matches (collectively defined as the “Event”), only within the Fifty
States of. the United States of America, the District of Columbia and Canada ( the “Territory”), only
at non-residentiai locations; including, but not limited to, bars, clubs, lounges; restaurants and the like of a
commercial. (or non-commercial) nature, each with a fire code occupancy capacity not to exceed 500
persoas per outlet (except'for outlets within casinos where the seating capacity may exceed $00 persons
per outlet), Jocated within the Territory. The Exhibition rights granted herein do not include any rights to
exhibit the Event in the Commonwealth of Puerto Rico, Mexico, transmissions to hotel guest rooms, in-
flight aircraft or other transportation facilities, nor does it include the right to sublicense the Event other
than the HBO-PPY telecast! Any proposed closed circuit sublicensing of exhibition of the Event at arenas,
racetracks or theaters (if Promoter does not execute the Fatham Agreement.as defined below) shall be
subject to the prior written approval of Promoter, which approval may be granted or refused in the discretion

of Promoter.

 

 

 

 
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. 1. License Fee. As full and complete compensation for the rights granted to Licensee by
Promoter, you shall pay to Promoter the license fee calculated as. follows:

2. Licensee shall pay the Minimum Financial Guarantee of Gaal

Dollars (the “Minimum Financia! Guarantee”), pursuant to
the provisions of paragraph 2;

Then, the amount of all gross revenues in excess of the firs aa

Dollars (which threshold amount Licensee shall retain in recoupment

of the Minimum Financial Guarantee) which Licensee receives from all closed circuit television exhibitions
of the Event in the Territory shall be payable as follows:

‘1 Deduct Marketing and credit card costs up oe of

revenue;
fl .Deduct Sales commission up ea

1, The remaining revenue balance shall be split "MR to GBP and GiB to
G&G

b. For avoidance of doubt, if Promoter executed the Fathom Agreement (as-defined
below), then Licensee shall not license any theaters in the Territory and License Fees shall expressly
exclude any and all revenues and monies derived from or relating to the sale, license or other exploitation
of the rights granted to Fathom pursuant to the Fathom Agreement.

c All amounts which are to be deducted or withheld by your sublicense exhibitors,
sales agents or distributors from payments to you or your sublicensees shall be subject to the mutual
agreement of Promoter and Licensee but shall not exceed @@@MR percent of gross revenues (excluding
authorization fees) from each outlet from exhibition of the Event:

d, In the event that you should sublicense an outlet for a fixed lump sum or for a
license fee which includes a guaranteed amount which is not exceeded by your share of revenues from that
outlet, you shall include in gross revenue hereunder the amount equal to such lump sum or guarantee,

e. __-¥ou shall provide the services of a duty authorized representative of your
organization who shall be present at‘each licensed and sublicensed outlet immediately prior to and during
the telecast of the Event, to monitor compliance with the terms of this Agreement and report on attendance
figures and the collection of admission fees.

f You shall be entitled to deduct and withhold, for advertising and publicity
purposes, up to of gross revenues from exhibition locations which you license directly
to operators, other than Licensee or its affiliates, without any commission or distribution fee to third party
sales agents or distributors. .

 

 
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g. Licensee shall be responsible for all of its local advertising material,:such as
posters, press kits and slide, including the option to use Eveat posters to be supplied by HBO-PPV. A

advertising materials shall be subject to Promoter's prior written approval:

>

o> he ‘The calculation of gross revenues shall not include the amount of any fees or taxes
referenced in this Agreement paid or required to be paid hereunder.
i, Licensee acknowledges that Promoter intends to enter inte an agreement-with

Fathom for the sale, license“or other exploitation of the rights of the Event and its exhibition in movie
theaters.

je Licensee agrees to authorize the exhibition of the Event in Las Vegas casino
locations at the sole direction of Promoter. For avoidance of doubt, License Fees shall expressly exciude
any and all revenues and monies derived from or relating to the sale or license of the’exhibition of the Event
at casino locations in Las Vegas.

2. Minimum Financial Guarantee and License Fees Overage Payments.

a, As migimum guarantee and non-refundable advance against the License Fee due to

Promoter pursuant to Paragraph | of this Agreement for the Event, you shall pay tc
Promoter the sum of Se
= not later than ten (10) business days prior to the Event;

and
b. Thé Minimum Financial Guarantee amount shall be paid by:
L a certified check or bank cashier’s check payable to “Golden Boy
Promotions, LLC” in such amaunt; or
T. . bank wire-delivered to:

Name of Bank

Bank Street Address

City, State, Zip Cade

Att:

Bank Routing Number
Account No.

(to be provided by Promoter)

o Payment of all license fee amounts in excess of the applicable Minimum Financial
Guarantee for the Event shall be due and payable to Promoter not later than ten (10)
business days after the Event.

3. Equipment & Signal Transmission of the Telecast of Event. You and your-sublicensees
shall be responsible to obtain, at your or their cost and expenses, either:

a. Authorization to receive the telecast of the Event thraugh the services of one or
more satellite DDS”) programming providers such as DirecTV or DISH Network, to be selected by you
and approved by Promoter in writing in advance; or

 

 

 

 

 
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b. ‘Authorization to receive the telecast of the Event through the services of one or
more cable programming providers to be selected by you and approved by Promoter in writing in advance:
or :

c. Authorization to receive the telecast of the Event through the services of one or
more altemate programming providers (such as streaming sites), to be selected by you and approved by

Promoter. :
d, You shall.not charge activation or signal transmission fees to your sublicensees in

excess of such fees charged to You. by any programming providers delivering signal transmission of the
Telecast of the Event, Any equipment charges necessary to your sublicensees to receive the Event shall be
at Your cost and/or the cost.of Your sublicensees,

4, Delivery of Signal

a. Promoter shall deliver either, as Promoter shall elect in its diseretion, (i) the
encrypted transmission of the video and audio signal of its telecast of the Event to a domestic satellite or
other delivery point from which the signal is capable of being received by DSS and VUBIQUITY, for
redistribution to your designated outlets or (ii) by fiber optic cable to a delivery point at which the signal is
capable of being received by DSS and VUBIQUITY, for redistribution to your designated outlets. Such
delivery to the delivery point shall constitute full and complete discharge of the obligations of Promoter to
you hereunder. DSS and VUBIQUITY, if applicable, as the case may be, shall have the responsibility to
address and authorize decoders or any other such equipment for your authorized sublicenséés: You shall be
responsible for all charges for addréSsing and authorizing your sublicensees, as well as all costs and
expenses necessary for the:reception of the signal and for the projection at the outlets,

b. Promoter shall have no responsibility for your signal transmission, equipment,
decoder and/or authorization fees, and Promoter shall have no responsibility or liability to you or your
sublicensees for any technical failures which may occur in connection with the authorizing of equipment
or decoders for your sublicensed closed circuit exhibition outlets or in connection with any retransmission
cr authorizing by DSS or: VUBIQUITY, and in such case, you remain responsible for payment of the
License Fee to Promoter. |

c. You shall instruct DSS and VUBIQUITY, if applicable, to provide directly to
Promoter, on. the first business day after the Event, their complete final sublicense reports which shall
indicate tbe name, address, and city of each sublicensed outlet and the decoder number for each sublicensed

outlet.

3. Pay-Per-View Exhibitions, Delayed Pav Cable Telecasts and Online Internet
Transmissions.

You acknowledge the Promoter will be licensing the live and delayed cable television, direct
broadcast satellite television and digital online internet transmission and exhibitions of the Event in the
Territory on a residential pay-per-view basis, with subsequent pay cable delayed.telecasts, and that; except
for Anti-Piracy Enforcement as specified below, you shall have no interest or participation in such
exhibitions or any other exploitation of the Event. Accordingly, Licensee has no right to record, duplicate
or copy the Event by any means or to exhibit, reproduce or retransmit the Event or any portion thereof. The
Telecast shall be exhibited in its entirety without alterations or changes of any nature, simultaneous with
the Program. ;

 

 

 

 
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6. Anti-Pi racy Enforcement

You and your sublicensees shall use their reasonable best efforts to employ adequate security
systems and other measures to prevent theft, pirating, copying, duplication or unauthorized exhibition or
transmission of the Event. You shall promptly advise the Promoter of any piracy (i.¢., unauthorized use or
proposed use) of the Event in the Territory. Promoter and Licensee, acting jointly shall have the right to
commence or settle any claim or litigation arising out of the alleged piracy, improper use or proposed
improper use of the Event in the Territory.

a) Notwithstanding the fact that Licensee has secured the rights from Promoter to sublicense
the live HBO-PPV telecast of the Event only at non-residential locations within the Territory, Promoter and
Licensee agree Licensee shall have the right to identify and prosecute as may be necessary. all acts of alleged
piracy of the Event, regardless of which particular broadcast and/or means of transmission an alleged
unlicensed exhibitor may have utilized to obtain and exhibit the Event, including but not limited to
international broadcasts (ic. SkyTW Mexico), intemet streaming, and/or replay on private media.
Licensee’s right to prosecute piracy regarding such transmissions of the Event shall be limited exclusively
to claims against non-residential exhibitors within the Territory and Sublicensee shall be subject to the
additional exclusions set forth above and. below regarding Private Showings and any. other exclusions
subsequently agreed upon by Promoter and Licensee and thereafter memorialized in writing.

b) License shall notify Promoter in writing and/or shall consult. with Promoter as may be
necessary or beneficial to do so. before commencing or settling any such claim or litigation in the Territory.
Promoter agrees that Licensee shall be afforded all necessary remedies at law or equity to protect Promoter
and Licensee in the prosecution of piracy claims involving the Event. Promoter agrees Licensee may
prosecute claims under any federal-telecommunication statutes (Le., Titles 47 U.S.C. §553 and §605), state
statutes and common law causes of action that may be applicable and further agrees that Licensee may
prosecute claims of alleged piracy under copyright causes of action (i.e¢., Title 17 U.S.C. §101) and Promoter
shall assist Licensee as necessary to support the claims brought forth in copyright by executing the
Copyright Assignment A greement, attached hereto to this Agreement as Exhibit “A”.

c) Any damages, whether statutory, compensatory, punitive or otherwise, which Licensee
may recover from the theft, piracy, copying, duplication, unauthorized exhibition or transmission of the
Event in the Territory, and after paymenit of reasonable legal fees and disbursements, shall constitute gross
revenues from the Event, to be shared by, and distributed to, the Promoter and Licensee as provided in
Paragraph | of this Agreement. Licensee shall advance all required legal. fees and disbarments, subject to
recoupment from any application recovery, and shall report all expenses, settlements and recoveries to
Promoter on a quarterly basis. Your sublicensees shall have no right to commence or settle any claim or

litigation arising out of the alleged piracy of the telecast hereunder without the prior written consent. of

Promoter,

7. Private Showings. Promoter shali have the right, at its cost and expense and upon written
notice to You, to conduct of authorize others to conduct up to ten (10) complementary Private Showings of
the telecast. of the Event within the Territory, with no admission charge and no advertising or advance
publicity for such private showings.

8. Attachments. Annexed to this Agreement as exhibits are the following documents, the
terms and conditions of which are incorporated herein as if ser forth in their entirety:

a Closed Circuit Television Sublicense Agreement which you and your sublicensee
shall complete and sign with respect to each closed circuit television outlet you may sublicense. you
SHALL NOT ENTER INTO ANY SUCH AGREEMENT WITHOUT FIRST OBTAINING, PRIOR TO

 

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THE TELECAST OF THE EVENT, THE WRITTEN CONSENT AND APPROVAL ‘OF PROMOTER
TO THE TERMS THEREOF AND WITHOUT OBTAINING. THE COUNTER-SIGNATURE OF
PROMOTER ON THE SUBLICENSE AGREEMENT.

b. Closed Circuit Television Standard Terms and Conditions which shall apply to this

Agreement as well as to the Closed Circuit Television Sublicense Agreement. YOU SHALL ATTACH A
COPY OF THE STANDARD TERMS AND CONDITIONS TO EACH SUCH SUBLICENSE
AGREEMENT.

c. Copyright Assignment Agreement SHALL APPLY TO THIS AGREEMENT
AND THE CLOSED-CIRCUIT TELEVISION SUBLICENSEES AGREEMENTS, AND IS STRICTLY
LIMOTED TO THE SUBJECT EVENT ONLY.

9, Defaults. ‘

a. Your failure to deliver the Minimum Financia! Guarantee as provided in Paragraph
2 hereof or to pay the license fee as provided in Paragraph | hereof or to pay the signal delivery fees. or
equipment expenses es provided in Paragraph 3 hereof or to comply with any other material term or
condition of this Agreement or of the annexed agreements or Standard Terms and Conditions shail permit
Promoter, in addition to all of its other rights and remedies, to cancel this Agreement with you at any time
without any further lability or obligation to you to retain all monies paid to Promoter prior to such
cancellation, Provided, however, that before Promoter may exercise any remedy with respect to any such
default, Promoter must (i) provide Licensee with written notice specifying such default, and (if) if and to
the-extent that time reasonably permits prior to the event, provide Licensee with up to seven (7) days after
Licensee’s receipt of such default notice within which to cure such default.

b. if, in violation of the provisions of this Agreement, you or a sublicensee exhibits
the Event in an outlet with-a fire code occupancy limit in excess of 500 persons (except casino. locations),
then, in addition to the license fee for such outlet as provided in Paragraph 1,.and in addition to and not in
limitation of or in lieu of any other rights or remedies Promoter may have under this Agreement, at law or
in equity, including, without limitation, Promoter's rights to indemnification hereunder, Licensee shall
immediately pay to Prometer an amount equal to the following for cach such outlet that violates the
aforesaid restriction: the sum of the fire code occupancy capacity of the outlet multiplied by 50% of the
face amount of the highest ticket or admission price for the Event at that outlet, You agree that this payment
is reasonably calculated to reimburse Promoter for its damages in the event of such violation of this

Agreement,
10. No packing with. Other Events

You shall not sublicense closed circuit television rights to the Event to exhibitors as part af a
package which includes other boxing programs or bouts not included in this Event without the prior written
consent of Promoter.

il. Reports. Collection and Accounting.

a. You shall be responsible for collection. of.all monies from outlets, shall make all
payments and provide all reports pursuant to Paragraph 4 of the Closed Circuit Television Standard Terms
and Conditions, and shall provide Promoter with copies of all reports received from sublicensed outlets.

 

 
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You shall distribute to Promoter all amounts due for exhibition rights to the Event, with no deduction, set-
offs or holdbacks whatsoever.

b Tn addition to the reports required in the closed Circuit Television Standard Terms
and Conditions, you shall provide Promoter with:

Separate reports no later than 72 hours, 48 hours, and 24 hours before the Event and one week
following the Event, including the name, locations and license fee for each closed. circuit exhibition
outlet and including method of signal delivery to each outlet and the information required in
Paragraph 10(d) of the Closed Circuit Television Standard Terms and Conditions.

Pronroter’s represen tatives shall have the right to visit your offices and each outlet at any time during
normal business hours ‘prior to the Event and after the Event to obtain and verify such information,
in person or electronically, and to make arrangements for the payment of all license fees due to
Promoter promptly following the Event.

All contracts and reports shall be sent to:

Golden Boy Promotions
626 Wilshire Blvd’, Suite 350
Los Angeles, CA 9001 7

12. Confidentiality. Neither party shall disclose to any-third party (other than its employees
and agents, in their capacity as such, on a need-te-need basis), any information with respect to the terms
and provisions of this Agreement except: (i) to the extent necessary to comply with law or the valid order
ef a court of competent jurisdiction, in which event the party seeking disclosure shall so notify the other
party as promptly as practicable (if possible, prior to making such a disclosure), (ii) as part of normal
reporting or review procedure to its banks, auditors and attorneys and similar professionals, provided that
such banks, auditors, attomeys and-similar professionals agree to be bound by the provisions of this
paragraph, and (iii) in order to enforce its rights pursuant to this Agreement.

i3. Entire Agreement. This Agreement supersedes and terminates all prior agreements
between the parties hereto and their affiliates with respect to the subject matter contained hereia, and this

Agreement embodies the entire understanding between the parties relating to such subject matter, and any

and all prior correspondence, conversations and memoranda are merged herein and shall be without effect
hereon. It may not be altered, amended or discharged, except by a subsequent writing signed by the parties
hereto. The laws of the State of Nevada applicable to contracts executed and to be fully-performed in the
State of Nevada shall govern this agreement, and execution of the agreement shall constitute the-consent of
Licensee and any sublicensee to exclusive jurisdiction of Nevada. Any dispute, controversy or claim arising
out of or relating to this. Agreement, including the formation, interpretation, breach or termination thereof,
including whether the claims asserted are arbitrable, will be-referred to.and finally determined by arbitration
in accordance with the JAMS Commercial Arbitration Rules before a single arbitrator who shall be selected
by the parties to the arbitration and who shall be a retired judge or justice. If the parties are unable to select
an arbitrator, the arbitrator-will be selected in accordance with the JAMS Rules. The place of arbitration
will be Las Vegas, Nevada. Judgrnent upon the award rendered by the arbitrator(s) may be entitled to its
reasonable costs, including the costs of arbitration, and attorneys’ fees, The prevailing party in arbitration
shall be entitled.to its reasonable costs, including the costs of arbitration and attorneys’ fees. -

 
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Very truly yours,

Galden Boy Proniotions

 

Please confirm your agreement with the above by signing and returning the attached copy of this
letter. This Television License Agreement Shall not. become effective unless and until Promoter has
accepted and signed this:Agreement and retumed one copy to-you,

ACCEPTED AND AGREED:

  
   

G&G Closed Circuit ren)

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BY SIGNING THIS AGREEMENT, LICENSEE ACKNOWLEDGES HAVING READ THE
CLOSED CIRCUIT TELEVISON STANDARD TERMS AND CONDITIONS AND CONFIRMS ITS
AGREEMENT THERETO. NO CHANGES ARE AUTHORIZED IN THE CLOSED CIRCUIT
TELEVISON STANDARD TERMS AND CONDITIONS.

  

 

 

 
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Exhibit A

 

 

 
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COPYRIGHT ASSIGNMENT AGREEMENT

THIS ASSIGNMENT is made this. /G_ day of Qo, 2017, (the “Bffective Date”)
by and between Golden Boy Promotions, Inc., a California corporation, with its principal place
of business located at 626 Wilshire Blvd #350, Los Angeles, CA 90017 (hereinafter “Golden
Boy” or the “Assignor”), and G&G Closed Circuit Events, LLC a California corporation, with its
principal place of business located at 950 South Bascom Avenue, Suite 3010, San Jose,
California (hereinafter “G&G” or the “Assignee”), collectively, the “Parties”.

WHEREAS Assignor is the copyright holder and owner ofall proprietary interest in certain
audiovisual works performed and transmitted or otherwise communicated, as specifically listed
and detailed in Exhibit A (spreadsheet), attached hereto and made a part hereof, (hereinafter the
“Work”), and WHEREAS Assignee is a licensor and distributor of programming including the
audiovisual works of the type identified in Exhibit A.

AND WHEREAS, Assignor wishes to transfer its exclusive ownership and interest in the
performance and transmission of the of the Work in commercial establishments (save for hotel
guest rooms, in-flight aircraft or other transportation facilities) in the United States of America
and Canada with a fire code occupancy capacity that does not exceed 500 persons (save for
establishments within casinos where the seating capacity may exceed 500 persons), including the
copyright and all other intellectual property rights in the performance and transmission of the of
the Work in commercial establishments the United States of America and Canada to Assignee
(hereinafter the “Commercial Work”), under the terms set forth in this Agreement;

NOW THEREFORE, in consideration of the mutual promises, covenants, warranties, and other
good and valuable consideration, receipt of which is hereby acknowledged, the Parties hereby
agree as follows:

1. Assignment. Assignor hereby irrevocably assigns to Assignee all rights, title and interest to
the Commercial Work, including all copyright ownership and interest, and all moral rights
associated with the creation of the Commercial Work and all other intellectual property
associated with the Commercial Work. Assignee shall be the exclusive owner of the
Commercial Work and of the copyright in the Commercial Work from the Effective Date
forward, and shall have the exclusive right to secure registration of the copyright in the
Commercial Work with the U.S. Copyright Office and the Canadian Intellectual Property
Office. Assignee transfers all right, title and interest in any accrued or later accrued claims,
causes of action, or lawsuits brought to enforce copyrights in the Commercial Work,
appointing and permitting Assignor to prosecute said accrue or later accrued claims as if it
were Assignee,

No rights in the Commercial Work, or in the copyright in the Commercial Work, shall be
retained by Assignor, nor shall there be any reversion of those rights to Assignor in the

future.

Copyright Assignment Agreement - | of 4

 
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Assignor’s Representations and Warranties. Assignor hereby represents and warrants the

following:

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a. Assignor has the legal authority to grant the Commercial Work, including all copyright
rights and proprietary interest therein, as set forth in Section 1. No other person or entity
is required to consent to this assignment or to this Agreement for it to be valid and

complete.

b. There are currently no licenses outstanding granting any other person or entity the right to
enjoy or lay claim to any copyright rights or privileges in the Commercial Work.
Assignor will not attempt to grant any such licenses at any time in the future. To the best
of Assignor’s knowledge, the Commercial Work, and all copyright interest in the
Commercial Work, is free and clear of any liens, security interests, or other
encumbrances.

c. To the best of Assignor’s knowledge, the Commercial Work does not infringe upon the
rights, copyright or otherwise, of any other person or entity.

d. There are no claims currently pending or threatened, nor does Assignor have any reason
to believe that any claims will be brought or threatened in the future, against Assignor’s
right, ownership or interest in the Commercial Work.

indemnification. Assignor agrees to indemnify and hold harmless Assignee for any claims,
suits, damages, actions, or other costs arising out any breach of Assignor’s warranties set
forth in Section 3 above.

Governing Law, Forum Selection, and Consent to Jurisdiction, This Agreement shall be
construed in accordance with, and governed in all respects by, the laws of the State of
California, without regard to conflicts of law principles. The Parties agree that the exclusive
junsdiction and venue for the resolution of any dispute arising from or relating to this
Agreement shall lie in the United States District Court, Central District of California, sitting
in Los Angeles, California.

Severability. In the event that any part or parts of this Agreement shall be held
unenforceable for any reason, the remainder of this Agreement shall continue in full force
and effect as if the unenforceable part or parts were. If any provision of this Agreement is
deemed invalid or unenforceable by any court of competent jurisdiction, and if limiting such
provision would make the provision valid, then such provision shall be deemed to be

construed as so limited.

Counterparts. This Agreement may be executed in several counterparts, each of which shal!
constitute an original and all of which, when taken together, shall constitute one agreement.

Notice, Any notice required or otherwise given pursuant to this Agreement shall be in
writing and delivered via any form of delivery that permits the sender to receive confirmation
of delivery and receipt, including, 1) certified mail return receipt requested, postage prepaid,
2) delivery by overnight delivery service, 3) facsimile, or 4) email.

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8. Headings. The headings for section herein are for convenience only and shall not affect the
meaning of the provisions of this Agreement.

9. Entire Copyright Assignment Agreement; No Impact on Distribution Agreements. This
Agreement constitutes the entire Copyright Assignment agreement between Assignor and
Assignee, and supersedes any prior understanding or representation with respect to Copyright
Assignment of any kind preceding the date of this Agreement. There are no other promises,
conditions, understandings or other agreements, whether oral or written, relating to the
subject matter of this Agreement, i.e. Copyright Assignment. This Copyright Assignment
Agreement is ancillary to and in no way impacts or contradicts or is intended to impact or
contradict the rights and obligations of the parties hereto contained in any Closed Circuit
Television License Agreement between the parties hereto.

IN WITNESS WHEREOEF, the parties have caused this Agreement to be executed the day and
year first above written.

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GOLDEN BO PROMOTIONS INC. C&G Closed aiptrent Biehisil TLC
Signature f

 

au Cero Qtr

Print Name

Coo

WCE

Title

Date

Copyright Assignment Agreement - 3 of 4

 
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Saul “Canelo” Alvarez v. Gennady Golovkin Championship Fight Program

Type of Work:
Registration Number / Date:
Application Title:

Title:
Description:

Copyright Claimant:

Date of Creation:

Date of Publication:

Nation of First Publication:
Authorship on Application:

Names:

Motion Picture

TBA / 2017-09-16

Saul “Canelo” Alvarez v. Gennady Golovkin featured boxing
match with accompanying undercard programming, September
16, 2017.

Saul “Canelo” Alvarez v. Gennady Golovkin featured boxing
match with accompanying undercard programming, September
16, 2017.

TBA videodiscs

Golden Boy Promotions, LLC Address: 626 Wilshire Blvd, Suite
350, Los Angeles, CA 90017.

2017

2017-09-16

United States

Golden Boy Promotions, LLC, a California limited liability
corporation, employer for hire; Domicile: United States;
Citizenship: United States. Authorship: Production of television
program.

Golden Boy Promotions, LLC

Copyright Assignment Agreement - 4 of 4

 

 
